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   7
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   9
                              UNITED STATES DISTRICT COURT
  10
                             CENTRAL DISTRICT OF CALIFORNIA
  11
  12                                            Case No.: 8:17-CV-00672
        CAMERON GAINER, an individual
  13                                            [Hon. James V. Selna]
                     Plaintiff,
  14                                            DEFENDANT’S MEMORANDUM
                                                IN OPPOSITION TO
  15          vs.                               PLAINTIFF’S MOTION FOR
                                                SUMMARY JUDGMENT
  16
        THE KETCHUM GROUP, INC., d/b/a
  17    OUTDOOR TECHNOLOGY,                     Date:      July 16, 2018
                                                Time:      1:30 p.m.
  18                 Defendant.                 Courtroom: 10C
  19
        AND RELATED COUNTER-CLAIMS
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   1   I.    INTRODUCTION
   2         Plaintiff’s Motion for Summary Judgment raises the same arguments as (and
   3   is largely cut and paste from) his Opposition to Defendant’s Motion for Summary
   4   Judgment. So as to avoid further duplicative filings, Defendant has filed a request
   5   for judicial notice, respectfully requesting that the court take judicial notice of
   6   Defendant’s previously filed Motion, Reply, and the related Exhibits 1-13.
   7         Lost in Plaintiff’s Motion is the fact that Plaintiff’s claims of originality are
   8   limited to features found in the accused black and white Ketchum Bigfoot
   9   silhouette/line drawing. [See ECF No. 40-1, Defendant’s MSJ, at part III.D.1].
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  15         As a result, Plaintiff’s claims of having protectible copyright interests in
  16   features such as his allegedly original “facial details,” “hair length and texture” (Ex.
  17   1 at pp. 11-12), and, more recently “hairless ape-like hands” [ECF No. 42 at 19:21],
  18   are irrelevant because those features are not found in the accused silhouette.
  19   Further, Plaintiff has now disavowed any protection in “body posture” and “position
  20   of limbs” (Ex. 1 at pp. 11-12) by contending that “the pose is not copyrightable.”
  21   [ECF No. 42 at 15:9].
  22         Likewise, Plaintiff’s claim that “Mr. Gainer expressly set out to create a
  23   realistic three-dimensional depiction of bigfoot that differed substantially from that
  24   depicted in the two-dimensional Frame 352” ignores that he is now trying to claim
  25   originality in the two-dimensional silhouette. [ECF No. 55-1, Plaintiff’s MSJ, at pp.
  26   18:2-4]. And again, what Mr. Gainer “set out to do” is irrelevant to a copyright
  27   infringement analysis. [ECF No. 51, Defendant’s Reply, at 15:21].
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   1         Based on the foregoing, summary judgment should be granted in Defendant’s
   2   favor and the Court need not even reach the issue of Defendant’s remaining
   3   affirmative defenses. Nonetheless, Defendant addresses those affirmative defenses
   4   in part II.B below.
   5   II.   DISCUSSION
   6         A.     Plaintiff’s Alleged Copyright Interest In The Bigfoot Silhouette Is
   7                Invalid
   8                1.       Plaintiff’s Bigfoot Is Derivative of the Patterson Gimlin
   9                         Bigfoot
  10         Plaintiff’s contention that his Bigfoot Statue is not derivative of the Patterson
  11   Gimlin Bigfoot is without merit.
  12         First, Plaintiff contends that in order to be a derivative work, his Bigfoot must
  13   be based on a work that is copyrightable. It was. The Patterson Gimlin film is not
  14   only copyrightable1 but was in fact registered with the United States Copyright
  15   Office. (Ex. 3). The United States Copyright Office Certificates of Registration are
  16   attached as Exhibit 3. (Ex. 3).
  17         Second, Plaintiff argues that his work is not derivative of the Patterson Gimlin
  18   Bigfoot because he only copied the Patterson Gimlin pose, and “the pose is not
  19   copyrightable.” [ECF No. 42 at 15:9]. That is not a correct statement of the law. In
  20   Rentmeester v. Nike, 2018 U.S. App. LEXIS 4817 (9th Cir. 2018), cited by Plaintiff,
  21   the photograph at issue was a photograph of Michael Jordan in a specific pose. The
  22   Ninth Circuit held that the author was “entitled protection only for the way the pose
  23   is expressed in his photograph . . . .” Id. at *14 (emphasis added). What the court
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        The case law is clear that the work need not be “copyrighted” only that “the
  26   preexisting work must come from within the general subject matter of copyright set
  27   forth in section 102, regardless of whether it was or ever copyrighted.” Ets-Hokin v.
       Skyy Spirits, Inc., 225 F.3d 1068, 1079 (9th Cir. 2000).
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   1   explained, however, was that the plaintiff could not “prevent others from
   2   photographing a person in the same pose.” Id.
   3            Furthermore, even if the “pose” aspect of the Patterson Gimlin film was not
   4   separately copyrightable (which it is), the court explained that “[p]hotographs
   5   cannot be dissected into protected and unprotected elements.” Rentmeester v. Nike,
   6   2018 U.S. App. LEXIS 4817 (9th Cir. 2018). As a result, Plaintiff’s claim that his
   7   work is not derivative of the Patterson Gimlin film because he only copied the pose,
   8   fails.
   9            Finally, Plaintiff has admitted that “Mr. Gainer’s Works do recreate the
  10   iconic pose of the creature depicted in the Patterson Gimlin film” and that “Mr.
  11   Gainer readily admitted that he sought to recreate the iconic pose of the bigfoot
  12   shown in a specific frame of the Patterson Gimlin Film.” [ECF No. 42 at 15:8-9]
  13   (emphasis added). As a result, given that there is no factual dispute that “Mr.
  14   Gainer’s Works do recreate” the Patterson Gimlin pose, there can be likewise no
  15   factual dispute that the Plaintiff’s Bigfoot silhouette is substantially similar to, and
  16   therefore, derivative of the iconic pose that Plaintiff “recreate[d]”/copied.
  17            “[N]o reasonable trier of fact would see anything but the underlying [Bigfoot]
  18   when looking at Plaintiff’s [Bigfoot].” Entertainment Research Group, Inc. v.
  19   Genesis Creative Group, Inc., 122 F.3d 1211, 1223 (1997). And it is undisputed
  20   that is exactly what Plaintiff was trying to do. (Ex. 4 (“For the exhibition, I would
  21   like to recreate a life sized version of bigfoot in this pose. . . . I would like to
  22   construct a realistic version of this infamous film still.”)).
  23                  2.    Plaintiff’s Bigfoot is an Unlawful Derivative Work
  24            Plaintiff admits that he did not obtain permission from the owners of the
  25   copyrights in the Patterson-Gimlin film “to recreate the iconic pose of the bigfoot
  26   shown in a specific frame of the Patterson Gimlin Film.” [ECF No. 42 at 15:8-9;
  27   Ex. 1 at Response 6). As a result, his “resulting derivative work is not entitled to
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   1   copyright protection.” U.S. Auto Parts Network, Inc. v. Parts Geek, Ltd. Liab. Co.,
   2   692 F.3d 1009, 1016 (9th Cir. 2012).
   3           This issue is fully briefed in Defendant’s Motion for Summary Judgment and
   4   Plaintiff’s Reply Brief. [See ECF No. 40-1, Defendant’s MSJ, at part III.C. at pp.
   5   10-11; ECF No. 51, Defendant’s Reply, at part GII.B. at pp. 4-6].
   6                 3.     Plaintiff’s Motion Ignores the Durham Test for
   7                        Copyrightability of Derivative Works.
   8           Plaintiff’s Motion ignores the Durham Test as well as the entire body of law
   9   on derivative works. Defendant has extensively briefed Prong One of the Durham
  10   test in conjunction with its Motion for Summary Judgment and Reply. So as not to
  11   file repetitive briefs with the Court, Defendant will only summarize its arguments
  12   here.
  13                        a.     Plaintiff Cannot Satisfy Prong One of the Durham Test
  14           Plaintiff cannot satisfy prong one of the Durham test for the following
  15   reasons.
  16           First, the courts have regularly granted summary judgment in derivative
  17   copyright matters, particularly in cases involving “well known” characters such as
  18   Bigfoot. [See ECF No. 40-1, Defendant MSJ, at part III.D.3.a, pp. 15-24; ECF No.
  19   51, Defendant Reply, at part II.C., pp. 6-10]. As set forth in Defendants’ MSJ, the
  20   differences between the plaintiffs’ works in Batlin (Uncle Sam), Gracen (Dorothy)
  21   and Sapon (Batman) (where subject images and derivative works are available and
  22   contained in Defendant’s MSJ), are far greater than any alleged difference between
  23   the Ketchum Bigfoot Silhouette and Frame 352.
  24           Second, Plaintiff’s alleged original features in the Bigfoot silhouette are either
  25   not found in the silhouette at all or features that “naturally flow from” Bigfoot.
  26   Satava v. Lowry, 323 F.3d 805, 810 (9th Cir. 2003). These features are discussed at
  27   length in Defendant’s Reply Brief in Support of Summary Judgment. [See ECF No.
  28   51, Defendant’s Reply, at part II.C.1, pp. 10-13] (discussing allegedly “longer

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    1   torso,” “shorter feet and legs,” “flat footed stance,” “lifelike facial features,” hairless
    2   ape like hands,” and “long flowing fur.”).
    3         Third, Plaintiff’s Motion again contends that Mr. Gainer put a great deal of
    4   work into creating his statue, claiming that it was a “massive undertaking.” [ECF
    5   No. 55-1 at 12:5]. However, “originality is not present solely because [Plaintiff]
    6   placed a lot of thought and effort into figuring out how to transform the two-
    7   dimensional [Bigfoot] into [a] three-dimensional [Bigfoot].” Entertainment
    8   Research Group v. Genesis Creative Group. 122 F.3d 1211, 1222 (9th Cir. 1997)
    9   (“Indeed, the courts and commentators seem to agree that making decisions that
   10   enable one to reproduce or transform an already existing work into another medium
   11   or dimension - though perhaps quite difficult and intricate decisions - is not enough .
   12   . . .”). [See ECF No. 51, Defendant’s Reply at part II.C.1 at pp. 14-15].
   13         Furthermore, virtually all of Plaintiffs’ evidence of his “massive undertaking”
   14   is based inadmissible hearsay statements of his expert, Shannon Gilley. In this
   15   regard, Plaintiff did not submit an expert declaration of Shannon Gilley that
   16   complies with 28 U.S.C. § 1746. Instead, Plaintiff simply submitted Mr. Gilley’s
   17   report which is inadmissible hearsay. See Hunt v. City of Portland, 599 F.App’x 620,
   18   621 (9th Cir. 2009) (concluding that expert report was inadmissible hearsay);
   19   Paddack v. Dave Christensen, Inc., 745 F.2d 1254, 1262 (9th Cir. 1984) (explaining
   20   that Federal Rule of Evidence 703 “does not allow the admission of [expert] reports
   21   to establish the truth of what they assert”); Commer. Ventures, Inc. v. Scottsdale Ins.
   22   Co., 2017 U.S. Dist. LEXIS 154830, at *7 (C.D. Cal. 2017) (sustaining objections to
   23   two expert reports as inadmissible hearsay). In fact, Mr. Gilley’s report is double
   24   hearsay as all he does is repeat what Cameron Gainer allegedly told him about the
   25   creation of the statue.
   26         Based on the foregoing, Plaintiff cannot meet part one of the Durham test.
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    1                       b.       Part Two of the Durham Test: Granting Plaintiff a
    2                                Copyright Interest In the Ketchum Bigfoot Silhouette
    3                                Would Give Plaintiff a Monopoly on Bigfoot
    4         Plaintiff’s Brief ignores prong two of the Durham Test and does not even
    5   discuss it. Part two of the Durham test queries whether giving Plaintiff a copyright
    6   interest in the Ketchum Bigfoot Silhouette would give Plaintiff a “defacto
    7   monopoly” in the Silhouette of Frame 352. Here, no reasonable trier of fact could
    8   find anything other than it would. This issue is also discussed on Defendants
    9   Motion for Summary Judgment and Reply Brief. [See ECF No. 40-1, Defendant’s
   10   MSJ, at part III.D.3.b. at pp. 24-25; see ECF No. 51, Defendant’s Reply Brief, at
   11   part II.C.2. at pp. 16-18.
   12         Briefly, giving Plaintiff even an arguable copyright interest (by allowing him
   13   to survive summary judgment) would allow Plaintiff to sue any one of the hundreds
   14   of online images that contain the same allegedly original torso, hairy feet, legs, ape
   15   like hands, flat footed stance, and long hair and would therefore give a de facto
   16   monopoly in Bigfoot.
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   22    (Ex. 8, p. 148)         (Ex. 8, p. 150)         (Ex. 8, p. 151)   (Ex. 8 p. 152)
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   27    (Ex. 8 p. 154)          (Ex. 8 p. 168)          (Ex. 8, p. 174)   (Ex. 8 p. 184)
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    5    (Ex. 8, p. 187)       (Ex. 8 p. 191)         (Ex. 8, p. 199)       (Ex. 8 at p. 209)
    6   (See also Gugliuzza Decl., at ¶ 5).
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   16   (See Gugliuzza Decl., at ¶ 4; see also Request for Judicial Notice).
   17         The artists of the foregoing Bigfoot Silhouettes and “[a]ny subsequent
   18   [Bigfoot artist] . . . . would be limited by the granting of a derivative copyright in
   19   this situation or at the very least be vulnerable to harassment.” Entertainment
   20   Research, 122 F.3d at 1224.
   21         In sum, if summary judgment is denied, no artist that learned of this case
   22   would ever risk drawing a silhouette of Bigfoot. To do so would risk having to
   23   defend a federal copyright infringement action through trial—an incredible expense
   24   for an individual. This alone would give Plaintiff a de facto monopoly on Bigfoot’s
   25   silhouette.
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    1                4.     Plaintiff’s Contentions of Copying Are Irrelevant to the Issue
    2                       of Validity Which Must Be Decided First
    3         As set forth in Defendant’s Reply Brief, Plaintiff’s claims of infringement are
    4   irrelevant, as only the validity of Plaintiff’s alleged copyright interest in the
    5   silhouette of his Bigfoot Statue are at issue on this motion. [See ECF No. 51,
    6   Defendant’s Reply, at part II.D. at p. 18]. Therefore, these arguments should be
    7   disregarded as only validity is at issue on this motion.
    8         B.     If the Court Reaches the Issue of Defendants’ Additional
    9                Affirmative Defenses, Partial Summary Judgment Should Not Be
   10                Granted
   11         For the reasons set forth above, Defendant requests that summary judgment
   12   be granted in Defendant’s favor because Plaintiff cannot assert a valid copyright
   13   interest in the accused Bigfoot silhouette. As a result, Defendant contends that the
   14   Court need not even reach the issue of Defendant’s remaining affirmative defenses.
   15   However, if the Court does, partial summary judgment should not be granted as to
   16   these defenses for the reasons set forth below.
   17                1.     Defendant Asserted Its Statute of Limitations Affirmative
   18                       Defense Only to the Extent Plaintiff Seeks Damages Beyond
   19                       the Three Year Statutory Period
   20         As Plaintiff’s motion states, the statute of limitations for copyright damages is
   21   three years. 17 U.S.C. § 507(b).
   22         Plaintiff’s motion states that “Mr. Gainer has already clarified to Outdoor
   23   Tech that he is not seeking relief for harm extending prior to this three year statute
   24   of limitations.” [ECF No. 55-1 at 19:23-25].
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    1         That is not what Plaintiff’s Rule 26 Disclosures or Interrogatory Responses
    2   say; 2 however, if by that statement, Plaintiff is stipulating not to claim any actual
    3   damages or portion of any of Defendant’s profits occurring three years prior to the
    4   filing of the Complaint, then Outdoor Tech will concurrently not assert this defense
    5   to any damages being sought within the three year period.
    6                2.     Defendant’s Latches Affirmative Defense Is Available as a
    7                       Defense to Plaintiff’s Equitable Claims for Injunctive Relief
    8                       as Well as in Determining the Profits “Attributable to the
    9                       Infringement”
   10         Defendant does not assert a latches defense to shorten the three year statutory
   11   period for claiming damages pursuant to 17 U.S.C. § 507(b).
   12         Instead, “plaintiff’s delay can always be brought to bear at the remedial stage,
   13   in determining appropriate injunctive relief, and in assessing the ‘profits of the
   14   infringer attributable to the infringement.’” Petrella v. MGM, 134 S. Ct. 1962, 1967
   15   (2014) (quoting 17 U.S.C § 504(b)).
   16         Here, it is undisputed that The Ketchum Group has been using the accused
   17   logo since 2009 and Plaintiff did not assert any claim of copyright infringement
   18   until 2016. (Gugliuzza Decl. at ¶¶ 7-15). In addition, when Plaintiff did first
   19   contact The Ketchum Group in 2016, he did not even reference the Patterson Gimlin
   20   photograph at all, much less identify what limited features of the silhouette he
   21   claimed were original to him. (Gugliuzza Decl., ¶¶ 13-15). Likewise, when
   22   Plaintiff registered his Bigfoot with the Copyright Office, he did not disclose that his
   23   Bigfoot was based on the Patterson Gimlin Bigfoot, much less disclose what “new
   24   material covered by the copyright claim for which registration is sought.” (Ex. 10 p.
   25   229, 231; Ex. 11, p. 238, 241; Ex. 2 at 180:6-185:20).
   26   2
          Notably, Plaintiff’s Rule 26 disclosures and interrogatories contained no such
   27   limitation. In fact, they contained no claimed amount of damages in violation of
   28   Rule 26. (See Ex. 14-16; Kneafsey Decl., ¶¶ 2-6).

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    1          Plaintiff certainly did not disclose to The Ketchum Group or to the Copyright
    2   Office (and therefore the public) that his “pose is not copyrightable” which he
    3   admitted for the first time in Opposition to Defendant’s Motion for Summary
    4   Judgment. [ECF No. 42 at 15:8-11; See ECF No 51, Defendant’s Reply at 3:3-6
    5   and11:1-7]. To the contrary, Plaintiff publicly asserted in his Compliant that he had
    6   a copyright interest in his Bigfoot’s “ body posture.” (Complaint, ¶ 17-18)
    7   (emphasis added).
    8          The Ketchum Group has invested substantial sums in its marketing and
    9   customer service efforts in attempt to make this 14 person company survive.
   10   Virtually every year since inception it has operated at a loss. The company does not
   11   sell its logo. Instead, it is an outdoor products company that sells electronic outdoor
   12   sports related products such as headphones, helmets, and ear buds. Virtually none
   13   of the Ketchum Group’s income is “attributable to the infringement” of whatever
   14   limited features of the Bigfoot Silhouette Plaintiff claims a copyright interest in.
   15   (See Gugliuzza Decl, ¶ 14). In fact, in violation of Rule 26, Plaintiff himself has
   16   also failed to identify what portion of Defendant’s income it contends is
   17   “attributable to the infringement.” 17 U.S.C § 504(b); Ex. 14-16; Kneafsey Decl. ¶¶
   18   2-6; Gugliuzza Decl., ¶¶ 7-9).
   19          Plaintiff’s delay in bringing his claims, his delay in identifying the scope of
   20   his claims, and his shifting claims as to his allegedly original claims have resulted in
   21   prejudice to The Ketchum Group. (See Gugliuzza Decl, ¶ 14). These are facts that
   22   the court should consider should this court ever reach the injunction or remedy
   23   phase of this litigation.
   24          As a result, there are issues of fact as to Defendant’s latches defense and
   25   partial summary judgment should not be granted as to this defense.
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    1                3.     There is a Factual Dispute as to Defendant’s Unclean Hands
    2                       Defense
    3         The same facts set forth above with regard to the equitable defense of laches
    4   also apply to the equitable defense of unclean hands.
    5         Plaintiff’s statement of authority – that “an action ‘will be dismissed under
    6   the theory of unclean hands if [a] defendant establishes that [the] plaintiffs evidence
    7   was false and that plaintiff was involved in a scheme to defraud the public’” [ECF
    8   No. 55-1 at 22:19-21] is too restrictive, suggesting the only way Outdoor Tech may
    9   prove the equitable defense of unclean hands is by establishing that Plaintiff’s
   10   evidence is false and that Plaintiff schemed to defraud the public. The defense is
   11   not so narrow.
   12         “The [unclean hands] doctrine bars relief to a plaintiff who has violated
   13   conscience, good faith or other equitable principles in his prior conduct, as well as to
   14   a plaintiff who has dirtied his hands in acquiring the right presently asserted.”
   15   Dollar Sys., Inc. v. Avcar Leasing Sys., Inc., 890 F.2d 165, 173 (9th Cir. 1989)
   16   (citing Insurance Co. of North America, 128 Cal.App.3d at 306 & Pond v. Insurance
   17   Co. of North America, 151 Cal.App.3d 280, 289-290 (1984).
   18         In order for the unclean hands doctrine to apply, the plaintiff’s transgression
   19   “must harm or prejudice a defendant in some way.” Testa v. Janssen, 492 F.Supp.
   20   198, 201 (W.D. Pa. 1980). As the court explained in Testa:
   21                Vogue Ring Creations, Inc. v. Hardman, 410 F.Supp. 609
   22                (D.R.I.1976) illustrates the type of transgression that
   23                warrants application of the doctrine of unclean hands. In
   24                Vogue Ring, the plaintiff’s copyright application omitted
   25                the fact of publication prior to receipt of a
   26                copyright. Prior publication voids a common law
   27                copyright and places a work within the public domain.
   28                See 1 Nimmer, Copyright § 4.01(B) (1978). Since the

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    1                plaintiff’s misrepresentation went to the very validity of
    2                the copyright, the district court held that the doctrine of
    3                unclean hands barred the claim. 410 F.Supp. at 616.
    4   Testa v. Janssen, 492 F.Supp. 198, 201 (W.D. Pa. 1980) (construing Vogue Ring,
    5   410 F.Supp. at 614-616).
    6         In Vogue Ring, Plaintiff failed to fill in Item #7 on its application for
    7   copyright registration, which asked, among other things, whether there was “new
    8   matter” in the plaintiff’s version of a ring so that “the Copyright Office could then
    9   determine whether the changes were sufficient to justify the granting of a new
   10   registration to plaintiff.” Vogue Ring, 410 F.Supp. at 614. The plaintiff left Item #7
   11   in the copyright application blank. The court found that this was “not an
   12   insubstantial omission.” Id. at 615. “If this item had been completed, the Copyright
   13   Office would have had the opportunity to evaluate whether or not the plaintiff had
   14   made any copyrightable changes.” Id. at 615. This unexplained omission, coupled
   15   with other factors, caused the court to conclude that even if the copyright was
   16   otherwise valid, the court would have to hold the copyright unenforceable because
   17   of unclean hands. Id. at 616.
   18         Vogue Ring is cited with approval in the Central District in Express, LLC v.
   19   Forever 21, Inc., 2010 U.S. Dist. LEXIS 91705 (C.D. Cal. 2010). In Express, LLC,
   20   the court wrote:
   21                The Court fails to see why it should give presumptive
   22                effect to a copyright registration that contradicts the
   23                sworn testimony of the purported creator of the
   24                copyrighted work. Cf. Masquerade Novelty, Inc. v.
   25                Unique Indus., Inc., 912 F.2d 663, 668 n.5 (3d Cir. 1990)
   26                (“It may be that the correct approach in situations where
   27                there has been a material, but inadvertent omission, is to
   28                deprive the plaintiff of the benefits of § 410(c) and to

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    1                require him to establish the copyrightability of the
    2                articles he claims are being infringed.”).
    3   Express, LLC, 2010 U.S. Dist. LEXIS 91705, at *18-19.
    4         The Express court went on to cite Vogue Ring with approval, writing:
    5                Indeed, a number of courts have granted summary
    6                judgment against a copyright owner in light of evidence
    7                that the owner failed to inform the Copyright Office that
    8                the work at issue was derived from another pre-existing
    9                work. See R. Ready Productions, Inc. v. Cantrell, 85
   10                F.Supp.2d 672, 692 (S.D. Tex. 2000) (invalidating the
   11                asserted copyright where “Plaintiffs failed to disclose in
   12                their registration application that there were pre-existing
   13                mailers on which Plaintiffs’ works were substantially
   14                based . . . [and] this was not an inadvertent error”); Russ
   15                Berrie & Co., Inc. v. Jerry Elsner Co., Inc., 482 F.Supp.
   16                980, 988 (S.D.N.Y. 1980); Vogue Ring Creations, Inc. v.
   17                Hardman, 410 F.Supp. 609, 615-16 (D.R.I. 1976).
   18   Express, LLC, 2010 U.S. Dist. LEXIS 91705, at *19-20 n.9.
   19         As set forth above, in violation of 17 U.S.C. § 409 and the Instructions for
   20   Section 6 of Form VA, Plaintiff failed to disclose to the Copyright Office (1) that
   21   Plaintiff’s Bigfoot Statue was derived from the Patterson-Gimlin Bigfoot, and (2)
   22   the new material he added to the Patterson-Gimlin Bigfoot. (Ex. 10 p. 229, 231; Ex.
   23   11, p. 238, 241; Ex. 2 at 180:6-185:20). Plaintiff’s nondisclosure had to be
   24   intentional because: [1] he reviewed the application before it was filed, and [2] he
   25   only filed the application in anticipation of filing this suit. As a result, he knew full
   26   well that he was asserting a copyright interest against a silhouette of Bigfoot and he
   27   knew that he had copied the famous Patterson Gimlin Pose. He and his lawyers
   28   knew that it would give them a tactical advantage if they did not disclose that this

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    1   was a derivative work because they would be bound to what they listed on their
    2   application. See Russ Berrie & Co. v. Elsner, 482 F. Supp. 980, 988 (S.D.N.Y.
    3   1980) (“Here, however, the Copyright Office had no opportunity to pass on
    4   plaintiff's claim accurately presented. The knowing failure to advise the Copyright
    5   Office of facts which might have occasioned a rejection of the application constitute
    6   reason for holding the registration invalid and thus incapable of supporting an
    7   infringement action, 1 Nimmer § 94, or denying enforcement on the ground of
    8   unclean hands.” (emphasis added)).
    9         This significantly prejudiced Defendant because Defendant could not
   10   determine the scope of Plaintiff’s alleged copyright claim which has now been
   11   shifting throughout this case. This has not only prejudiced Defendant’s defense of
   12   this case but also in determining what redesign decisions to make. Instead, Plaintiff
   13   has demanded that Defendant completely abandon its registered trademark that it
   14   has been using for almost 10 years.
   15         Based on the foregoing there are triable issues of fact as to Defendant’s
   16   unclean hands defense. L.A. News Serv. v. Tullo, 973 F.2d 791, 799 (9th Cir. 1992)
   17   (“The application of the unclean hands doctrine raises primarily a question of
   18   fact."”); see also Insurance Co. of North America v. Liberty Mutual Ins. Co., 128
   19   Cal.App.3d 297, 306 (1982).
   20                4.     There is a Factual Dispute as to Whether Plaintiff Lacks
   21                       Standing and/or Abandoned His Copyright Interest In His
   22                       Bigfoot Statue
   23         Plaintiff promptly sold his Bigfoot Statue in 2007 after he constructed it and
   24   has not had possession of it since that time. (Ex. 17 at 42:5; Ex. 18). It has been
   25   publicly displayed at multiple locations. (Ex. 17 at 42).
   26         The Bigfoot Statue is “meant to be a “photo-op prop’ that allows the viewer
   27   to be a participant in the project as re-creator of the original [Patterson Gimlin] film
   28   footage or perpetuator of it as a supposed hoax.” (Ex. 17 at 122:8-15, Ex. 19, Ex.

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    1   21). The current museum sold its own apparel including a t-shirt that reads “I            ”
    2   with a silhouette of the Big Foot statue. (Ex. 20; Ex. 19 at Response 20; Ex. 17 at
    3   252:14-253:10). After selling the statue, Gainer received no income from it,
    4   including from the sale of the t-shirts. (Ex. 17 at 253:18-20). As set forth above,
    5   there are hundreds of images of Bigfoot available on the internet and on products
    6   available for purchase that contain the features that Plaintiff claims are original to
    7   him. Plaintiff has taken no action to enforce his alleged copyright interests.
    8   (Kneafsey Decl., ¶ 12; Ex. 22).
    9          Furthermore, when asked if he signed a contract when he first sold the Statue,
   10   he testified: “It is customary to have some sort of form when our work is sold. I do
   11   not recall in this case. This was a number of years ago; so I -- I do not recall.” (Ex.
   12   17 at 46:7-9).
   13          When he was asked whether he sold “the intellectual property rights to the
   14   statue,” he responded “I would need to see a document, but I do not recall that.
   15   That doesn't sound like something I would do.” (Ex. 17 at 47:6-11).
   16          Plaintiff failed to produce a copy of the contract pursuant to which he sold his
   17   statue in this case. (Kneafsey Decl., ¶ 13).
   18          Based on the foregoing, there is a triable issue of fact as to whether Plaintiff
   19   retained any copyright interest in his statue at all when he sold the statue in 2007. If
   20   he transferred his rights in the statue when he sold it, then he would lack standing to
   21   file this action.
   22          Plaintiff himself has admitted that he may well have transferred his copyright
   23   interest (as one would expect) when he sold the statue in 2007. This, coupled with
   24   the fact that the Fabric Museum has made the statue available to the public as a
   25   “photo op” and the fact that the Fabric Museum has sold t-shirts purportedly
   26   depicting a silhouette of Plaintiff’s statue, with no action by the Plaintiff, creates an
   27   inference that Plaintiff did in fact sell any copyright interest that he had. At a
   28   minimum, there is a triable issue of fact on this issue.

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    1          Further, there is a triable issue of fact as to whether Plaintiff abandoned his
    2   copyright interest in the statue. While “[a]bandonment of a copyright must be
    3   manifested by some overt act indicative of a purpose to surrender the rights and
    4   allow the public to copy,” (Melchizedek v. Holt, 792 F. Supp. 2d 1042, 1051 (D.
    5   Ariz. 2011)), “what does or does not constitute abandonment appears to be a highly
    6   fact-specific inquiry.” Marya v. Warner/Chappell Music, Inc. 131 F. Supp. 3d 975,
    7   991-992 (C.D. Cal. 2015); Melchizedek, 792 F. Supp. 2d at 1051(“Based on the
    8   record before the Court, there is a material issue of fact as to whether Plaintiff
    9   intended to abandon his copyright through an overt act or acts.”); Oracle Am., Inc. v.
   10   Hewlett Packard Enter. Co., 2017 U.S. Dist. LEXIS 22561, **8-9 (N.D. Cal. 2017)
   11   (“what does or does not constitute abandonment appears to be a highly fact-specific
   12   inquiry”); Wyatt Tech. Corp. v. Malvern Instruments Incorporation, 2009 U.S. Dist.
   13   LEXIS 66097, **39-40 (C.D. Cal. 2009) (“By stating that there were "no
   14   restrictions" on the material, the language effectively stated that the author had
   15   abandoned those rights.”).
   16          Here, Plaintiff sold his statue which a trier of fact could find was an overt act
   17   sufficient demonstrate an intent to abandon his copyright interest in the statue. In
   18   fact, he testified that “I would need to see [the contract], but I do not recall . . . .”
   19   (Ex. 17 at 47:6-11). Moreover, the statue is now available at a museum where it is
   20   publicly available as a “photo op.” The museum sells tourist type t-shirts. Plaintiff
   21   has acquiesced to the sale of these t-shirts and has not taken any action against any
   22   of the hundreds of similar images available for viewing on the internet and on
   23   products for sale.
   24          A triable issue of fact exists as to whether Plaintiff has standing and whether
   25   he has abandoned any copyright interest he may have.
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    1                5.     Innocent Infringement is a Defense to the Copyright Act’s
    2                       Remedies
    3         Although the “innocent intent of the defendant constitutes no defense to
    4   liability,” the innocent intent of the defendant “may, however, bear upon the
    5   remedies available against such a defendant,” including the remedies available
    6   under 17 U.S.C. § 504(c)(2); see 4 Nimmer on Copyright (“Nimmer”) § 13.08
    7   (Matthew Bender rev. ed. 2011). Further, “[w]hither the defendants’ infringement
    8   was innocent is a factual determination.” L.A. News Serv. v. Reuters TV Int'l, Ltd.,
    9   149 F.3d 987, 995 (9th Cir. 1998).
   10         Here, there is a factual issue as to the foundational issue as to the scope of
   11   Plaintiff’s alleged copyright interest in the silhouette, as well as whether any alleged
   12   infringement was innocent. (Gugliuzza Decl. at ¶¶ 4-6).
   13                6.     If The Court Does Not Grant Summary Judgment In
   14                       Defendant’s Favor, There is, at a Minimum, a Factual
   15                       Dispute as to Whether Plaintiff Can State a Claim
   16         “[A] defense for failure to state a claim may be raised in any permissible
   17   pleading.” Hernandez v. Balakian, 2007 U.S. Dist. LEXIS 43680 (E.D.Cal. Jun. 1,
   18   2007); Brewer v. Salyer, 2007 U.S. Dist. LEXIS 66379, at *3-4 (E.D. Cal. 2007)(“
   19   “Rule 12(h)(2) provides that the defense of failure to state a claim may be made in
   20   any pleading permitted or ordered under Rule 7(a), which includes an answer. The
   21   defense is therefore not legally insufficient . . . Plaintiff's motion is therefore denied
   22   as to the First Affirmative Defense.” ”); see Robinson v. Adams, 2009 U.S. Dist.
   23   LEXIS 108383, at *2-3 (E.D. Cal. 2009).
   24         For the reasons set forth above, there are factual disputes as to whether
   25   Plaintiff can state a valid claim for copyright infringement.
   26         C.     Implied License and Misuse of Copyright Claims
   27         Defendant withdraws its implied license and misuse of copyright affirmative
   28   defenses.

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    1   III.   CONCLUSION
    2          Based on the foregoing, Defendant respectfully requests that Plaintiff’s
    3   Motion for Partial Summary Judgment be Denied, and that Defendant’s Motion for
    4   Summary Judgment be granted.
    5
    6    DATED: June 18, 2018            THE KNEAFSEY FIRM, INC.
    7                                               /s/ Sean M. Kneafsey
                                         By                            ________
    8                                                Sean M. Kneafsey
                                         Attorneys for Defendant and Counter-Claimant
    9                                    THE KETCHUM GROUP, INC.
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